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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

  VIRAL STYLE, LLC,

              Plaintiff,
  v.                                            Case No.

  IRON MAIDEN HOLDINGS LTD.
  and AM SULLIVAN LAW, LLC,

              Defendants.
                                       /

                                EXHIBIT H

                                     TO

                                COMPLAINT
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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

    IRON MAIDEN HOLDINGS, LTD.,

            PLAINTIFF,                                   CASE NO.: 1:20-CV-05251

    V.
                                                         JUDGE THOMAS M. DURKIN
    THE PARTNERSHIPS AND UNINCORPORATED
    ASSOCIATIONS IDENTIFED ON SCHEDULE A,
                                                         MAGISTRATE JUDGE SUNIL R. HARJANI
            DEFENDANTS.


                                     FINAL JUDGMENT ORDER

         This action, having been commenced by Iron Maiden Holdings, Ltd. (“Iron Maiden” or “Plaintiff”)

against the Defendants identified in the Schedule A to the Complaint, and using the online marketplace

accounts (also referred to as the “Defendant Internet Stores” or “Seller Aliases”), and Iron Maiden, having

moved for entry of Default and Default Judgment against the Defendants identified in the Amended

Schedule A, attached hereto (collectively, the “Defaulting Defendants”);

         This Court, having entered upon a showing by Iron Maiden, a Temporary Restraining Order and

Preliminary Injunction against Defaulting Defendants, which included an asset restraining order;

         Iron Maiden, having properly completed service of process on Defaulting Defendants, the

combination of providing notice via electronic publication or e-mail, along with any notice that Defaulting

Defendants received from payment processors, being notice reasonably calculated under all circumstances

to apprise Defaulting Defendants of the pendency of the action and affording them the opportunity to

answer and present their objections; and,

         None of the Defaulting Defendants having answered the Complaint or appeared in any way, and

the time for answering the Complaint having expired;




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       THIS COURT HEREBY FINDS that it has personal jurisdiction over the Defaulting Defendants,

since the Defaulting Defendants directly target their business activities toward consumers in the United

States, including Illinois. In the context of similar cases, “. . . a plaintiff must show that each defendant is

actually operating an interactive website that is accessible in Illinois and that each defendant has aimed

such site at Illinois by standing ready, willing and able to ship its counterfeit goods to customers in Illinois

in particular (or otherwise has some sufficient voluntary contacts with the state).” Am. Bridal & Prom

Indus. Ass’n v. P’ships & Unincorporated Ass’ns Identified on Schedule A, 192 F.Supp.3d 924, 934 (N.D.

Ill. 2016). In the present case, Plaintiff has presented screenshot evidence that each Defaulting Defendant

Internet Store is reaching out to do business with Illinois residents, by operating one or more commercial,

interactive Internet Stores, through which Illinois residents can and do purchase products using counterfeit

versions of Plaintiff’s Trademarks and Copyrights (the “Counterfeit/Infringing Products”). See Docket

No. 10, which includes such screenshot evidence, confirming that each Defaulting Defendant does stand

ready, willing, and able to ship the counterfeit goods to customers in Illinois, and the goods of which bear

infringing and/or counterfeit versions of the Iron Maiden Trademarks identified in Exhibit 1 to the

Complaint, and/or which bear versions or derivative content of the Iron Maiden Copyrights, identified in

Exhibit 2 to the Complaint.

       THIS COURT FURTHER FINDS that Defaulting Defendants are liable for willful federal

trademark infringement and counterfeiting (15 U.S.C. § 1114), false designation of origin (15 U.S.C. §

1125(a)), violation of the Illinois Uniform Deceptive Trade Practices Act (815 ILCS § 510, et seq.), and

willful copyright infringement, pursuant to 17 U.S.C. § 504(c);.

       IT IS HEREBY ORDERED that Iron Maiden Holdings, Ltd.’s Motion for Entry of Default and

Default Judgment is GRANTED in its entirety, that Defaulting Defendants are deemed in default, and that

this Final Judgment is entered against Defaulting Defendants.




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IT IS FURTHER ORDERED that:

1.   Defaulting Defendants, their affiliates, officers, agents, servants, employees, attorneys,

     confederates, and all persons acting for, with, by, through, under, or in active concert with them

     be permanently enjoined and restrained from:

     a. using the Iron Maiden Trademarks and Copyrights, or any reproductions, counterfeit copies,

        or colorable imitations thereof, in any manner in connection with the distribution, marketing,

        advertising, offering for sale, or sale of any product that is not a genuine Iron Maiden product

        or not authorized by Iron Maiden to be sold in connection with the Iron Maiden Trademarks

        and Copyrights;

     b. passing off, inducing, or enabling others to sell or pass off any product as a genuine Iron

        Maiden product or any other product produced by Iron Maiden, that is not Iron Maiden’s or

        not produced under the authorization, control or supervision of Iron Maiden and approved by

        Iron Maiden, for sale under the Iron Maiden Trademarks and Copyrights;

     c. committing any acts calculated to cause consumers to believe that Defaulting Defendants’

        products are those sold under the authorization, control, or supervision of Iron Maiden, or are

        sponsored by, approved by, or otherwise connected with Iron Maiden;

     d. further infringing the Iron Maiden Trademarks and Copyrights and damaging Iron Maiden’s

        goodwill;

     e. otherwise competing unfairly with Iron Maiden in any manner;

     f. shipping, delivering, holding for sale, transferring or otherwise moving, storing, distributing,

        returning, or otherwise disposing of, in any manner, products or inventory not manufactured

        by or for Iron Maiden, nor authorized by Iron Maiden to be sold or offered for sale, and which

        bear any of the Iron Maiden Trademarks and Copyrights, or any reproductions, counterfeit

        copies or colorable imitations thereof;


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     g. using, linking to, transferring, selling, exercising control over, or otherwise owning the online

        marketplace accounts, or any other domain name or online marketplace account that is being

        used to sell or is the means by which Defaulting Defendants could continue to sell

        Counterfeit/Infringing Products; and,

     h. operating and/or hosting websites that are involved with the distribution, marketing,

        advertising, offering for sale, or sale of any product bearing the Iron Maiden Trademarks and

        Copyrights, or any reproductions, counterfeit copies, or colorable imitations thereof, that is not

        a genuine Iron Maiden product, or not authorized by Iron Maiden to be sold in connection with

        the Iron Maiden Trademarks and Copyrights.

2.   Those in privity with Defaulting Defendants, and with actual notice of this Order, including any

     online marketplaces such as PayPal, Inc. (“PayPal”), ContextLogic, Inc. (“WISH), eBay, Inc.

     (“eBay”), Amazon Payments, Inc. (“Amazon”), Etsy, Alipay US, Inc. (“Alipay”), iOffer and

     Alibaba Group Holding Ltd., Alipay.com Co., Ltd., and any related Alibaba entities (collectively,

     “Alibaba”), social media platforms, Facebook, YouTube, LinkedIn, Twitter, Internet search

     engines such as Google, Bing and Yahoo (collectively, the “Online Marketplaces”), shall within

     five (5) business days of receipt of this Order:

     a. disable and cease providing services for any accounts through which Defaulting Defendants

        engage in the sale of counterfeit and infringing goods using the Iron Maiden Trademarks and

        Copyrights, including any accounts associated with the Defaulting Defendants listed on the

        Amended Schedule A, attached hereto;

     b. disable and cease displaying any advertisements used by or associated with Defaulting

        Defendants in connection with the sale of counterfeit and infringing goods using the Iron

        Maiden Trademarks and Copyrights; and




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     c. take all steps necessary to prevent links to the Seller Aliases identified on the Amended

        Schedule A from displaying in search results, including, but not limited to, removing links to

        the Seller Aliases from any search index.

3.   Pursuant to 15 U.S.C. § 1117(c)(2), Iron Maiden is awarded statutory damages from each of the

     Defaulting Defendants in the amount of five hundred thousand dollars ($500,000) for willful use

     of counterfeit Iron Maiden Trademarks on products sold through at least the Defendant Internet

     Stores.

4.   Pursuant to 17 U.S.C. § 504(c)(2), Iron Maiden is awarded statutory damages from each of the

     Defaulting Defendants in the amount of one hundred thousand dollars ($100,000) for willful

     copyright infringement of the Iron Maiden Copyrights. The one hundred thousand dollar

     ($100,000) award shall apply to each distinct Defaulting Defendant only once, even if they are

     listed under multiple different aliases in the Amended Schedule A.

5.   PayPal, Inc. (“PayPal”), ContextLogic, Inc. (“WISH), eBay, Inc. (“eBay”), Amazon Payments,

     Inc. (“Amazon”), Etsy, and Alipay US, Inc. (“Alipay”), and any other online marketplace or

     payment processor in privity with Defendants, shall, within ten (10) business days of receipt of

     this Order, permanently restrain and enjoin any accounts connected to Defaulting Defendants,

     Defaulting Defendants’ online marketplace accounts, or Defaulting Defendants’ websites,

     identified on the Amended Schedule A from transferring or disposing of any money or other of

     Defaulting Defendants’ assets.

6.   All monies currently restrained in Defaulting Defendants’ financial accounts, including monies

     held by eBay, PayPal, WISH, Amazon, Etsy, Payoneer, Alipay, and/or any other payment

     processors (collectively, the “Payment Processors”), are hereby released to Iron Maiden as partial

     payment of the above-identified damages, and the Payment Processors are ordered to release to




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     Iron Maiden the amounts from Defaulting Defendants’ accounts within ten (10) business days of

     receipt of this Order.

7.   Until Iron Maiden has recovered full payment of monies owed to it by any Defaulting Defendant,

     Iron Maiden shall have the ongoing authority to serve this Order on the Online Marketplaces and

     Payment Processors in the event that any new accounts controlled or operated by Defaulting

     Defendants are identified. Upon receipt of this Order, the Online Marketplaces and Payment

     Processors shall within ten (10) business days:

     a. Locate all accounts and funds connected to Defaulting Defendants, Defaulting Defendants’

        online marketplace accounts or Defaulting Defendants’ websites, including, but not limited to,

        any eBay, PayPal, WISH, Amazon, Etsy, and Alipay accounts;

     b. Restrain and enjoin such accounts or funds that are based internationally, from transferring or

        disposing of any money or other assets of Defaulting Defendants; and,

     c. Release all monies restrained in Defaulting Defendants’ accounts, including, but not limited

        to, PayPal, WISH, Amazon, Etsy, and Alipay accounts, to Iron Maiden, as partial payment of

        the above-identified damages;

     d. Upon Plaintiff’s request, the Internet marketplace website operators and/or administrators for

        the Seller Aliases shall disable and/or cease facilitating access to the Seller Aliases, including

        any other online marketplace accounts or seller alias names identified and/or being used and/or

        controlled by Defaulting Defendants to engage in the business of marketing, offering to sell,

        and/or selling goods bearing and/or using counterfeits and infringements of Plaintiff’s Iron

        Maiden Trademarks and Copyrights.

8.   Until Iron Maiden has recovered full payment of monies owed to it by any Defaulting Defendant,

     Iron Maiden shall have the ongoing authority to serve this Order on any banks, savings and loan

     associations, or other financial institutions (collectively, the “Financial Service Providers”) in the


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       event that any new financial accounts controlled or operated by Defaulting Defendants are

       identified. Upon receipt of this Order, the Financial Service Providers shall within ten (10)

       business days:

       a.   Locate all accounts connected to Defaulting Defendants, Defaulting Defendants’ online

            marketplace accounts, or Defaulting Defendants’ websites;

       b.   Restrain and enjoin such accounts from receiving, transferring, or disposing of any money or

            other assets of Defaulting Defendants; and,

       c.   Release all monies restrained in Defaulting Defendants’ financial accounts to Iron Maiden, as

            partial payment of the above-identified damages;

9.     In the event that Iron Maiden identifies any additional online marketplace accounts, domain names,

       third-party payment processor accounts, and/or financial accounts owned by Defaulting

       Defendants, Iron Maiden may send notice of any supplemental proceeding to Defaulting

       Defendants by e-mail at the e-mail addresses originally identified and served, and any e-mail

       addresses provided for Defaulting Defendants by third parties.

10.    The bond posted by Plaintiff in the amount of $10,000.00 is hereby ordered released by the Clerk

       to Plaintiff or Plaintiff’s counsel.



This is a Final Judgment.



Dated: December 1, 2020



                                       _____________________________________________
                                       United States District Court Judge Thomas M. Durkin




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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

      IRON MAIDEN HOLDINGS, LTD.,

             PLAINTIFF,                               CASE NO.: 1:20-CV-05251

      V.
                                                      JUDGE THOMAS M. DURKIN
      THE PARTNERSHIPS AND UNINCORPORATED
      ASSOCIATIONS IDENTIFIED IN SCHEDULE A,
                                                      MAGISTRATE JUDGE SUNIL R. HARJANI
             DEFENDANTS.



                                    AMENDED SCHEDULE A

NO.         DEFENDANT / SELLER ALIAS                            MARKETPLACE URL
 1            UP TO 60% OFF Store                       https://www.aliexpress.com/store/4977056
 2                 hiowuginlkn                 https://www.amazon.com/sp?seller=A1CJZYE4H2ZY0I

 3                  huang jin.                 https://www.amazon.com/sp?seller=AI7OROG8IWMHA
 4                   JackRdd                   https://www.amazon.com/sp?seller=A3T16Z1LFABAYX

 5                yamakadoshop                        https://www.etsy.com/uk/shop/yamakadoshop
 6                Fashion Trade                     https://www.vova.com/merchant-pdkg89jr3kzc8elt/
 7                 kdfghkdrthj                 https://www.amazon.com/sp?seller=A1XCO414DUV5OE

 8                   Lilyland                  https://www.amazon.com/sp?seller=A37KX123P9DVYK

 9                    teegogo                  https://www.amazon.com/sp?seller=AYWVSSSZVM543
10                 FUNSHINE                     https://www.vova.com/merchant-dyxu9fwdsg7w4rnk/
11               2015_megastore                        https://www.ebay.com/usr/2015_megastore

12                  alesinde-0                        https://www.etsy.com/shop/CookieCutters4U

13                  alex528ru                             https://www.ebay.com/usr/alex528ru

14                 doneboutique                          https://www.ebay.com/usr/doneboutique
15                  giang_9187                           https://www.ebay.com/usr/giang_9187

16              SOUTHFEATHER                    https://www.vova.com/merchant-8apxhcdaiwbmrs5y/



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NO.      DEFENDANT / SELLER ALIAS                          MARKETPLACE URL
17               gt2767                                https://www.ebay.com/usr/gt2767

18                khoihu_0                       https://www.etsy.com/shop/YeoysScienceTees

19            kingalonestore88                        https://www.etsy.com/shop/Ironyltd

20                kle2592                             https://www.ebay.com/usr/kle2592

21                lu_9466                        https://www.etsy.com/shop/DolceCakeToppers

22               luxuryprint                         https://www.ebay.com/usr/luxuryprint

23                phaha-4                          https://www.etsy.com/shop/BuyCoolShirts

24             satyadimar_id                       https://www.etsy.com/shop/MarkLewisArt

25              sindukadafi                            https://mayutrade.en.alibaba.com/

26              sunstore_899                        https://www.ebay.com/usr/sunstore_899

27          super_decals_stickers               https://www.ebay.com/usr/super_decals_stickers

28              zdanov-bp-1                         https://www.ebay.com/usr/zdanov-bp-1

29            GiftsDesignShop                   https://www.etsy.com/shop/UnicorniaCrossStitch

30              DISMISSED
31            OrkoJewelryInc                     https://www.etsy.com/shop/OpenRoadArtShop

32               SuperDec                        https://www.etsy.com/shop/VintagedVintages

33           TinkerBellShopArt                   https://www.etsy.com/shop/FramedArtSource

34               Tplaytown                        https://www.etsy.com/shop/CowAndCalfArt

35            WoodenAngelArt                        https://www.etsy.com/shop/FanaToonic

36            The Garden Net                 https://www.vova.com/merchant-8j8c96gqde48924j/

37                XINKE                      https://www.vova.com/merchant-wvncn3p1hy8iu0ln/

38            blackswhite_store                   https://www.ebay.com/usr/blackswhite_store

39              DISMISSED
40              chaucaop47                          https://www.ebay.com/usr/chaucaop47

41             goodkitchen4u                       https://www.ebay.com/usr/goodkitchen4u

42               huntefirs-0                         https://www.ebay.com/usr/huntefirs-0

43                jaidee006                          https://www.ebay.com/usr/jaidee006

44               khamou21                            https://www.ebay.com/usr/khamou21

45              kitchen-trend                       https://www.ebay.com/usr/kitchen-trend


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NO.       DEFENDANT / SELLER ALIAS                          MARKETPLACE URL
46               lukepla16                            https://www.ebay.com/usr/lukepla16

47              metal_garage                        https://www.ebay.com/usr/metal_garage

48             new-tshirt1102                       http://www.ebay.com/usr/new-tshirt1102

49               nguho-1866                          http://www.ebay.com/usr/nguho-1866

50                nguhuu59                            http://www.ebay.com/usr/nguhuu59

51                nguna_0                              http://www.ebay.com/usr/nguna_0

52                nvgstore                             http://www.ebay.com/usr/nvgstore

53             only-love-store                      http://www.ebay.com/usr/only-love-store

54                qudoan-0                             http://www.ebay.com/usr/qudoan-0

55                silverlilia                          http://www.ebay.com/usr/silverlilia

56                thanhn_5                             http://www.ebay.com/usr/thanhn_5

57                tmgaucon                            http://www.ebay.com/usr/tmgaucon

58                tru-9394                             http://www.ebay.com/usr/tru-9394

59               truststore68                        http://www.ebay.com/usr/truststore68

60                 vu3123                               http://www.ebay.com/usr/vu3123

61            Jill AK Hambrick               https://www.amazon.com/sp?seller=A16Q70IEKU9508

62               LONPENE                   https://www.amazon.com/sp?seller=A18XTUZWLBAJVD

63               TINGISME                  https://www.amazon.com/sp?seller=A2AAB2STRH9ELL

64           ALES1GEN NESSS                https://www.amazon.com/sp?seller=A2AR8DBPWZULJN

65             QmyhHohegtx                 https://www.amazon.com/sp?seller=A2WDHJW7XCCA6V

66               Estivation                 https://www.amazon.com/sp?seller=A32JSOPRUY8KF2

67           zhuangshizhuangxiu             https://www.amazon.com/sp?seller=A33P3HO4VSPNQJ

68                 Lzxlxr                  https://www.amazon.com/sp?seller=A3OU3JDTWLBONE

69                sun fafgh                https://www.amazon.com/sp?seller=ADZURCO5HFQVV

70              DISMISSED
71              DISMISSED
                                          https://201express.com/collections/iron-maiden/products/iron-
72              201EXPRESS                          maiden-reusable-mask-with-pm2-5-filter-4
73             89ARTSHIRT                             https://89artshirt.com/collection/f016

74              DISMISSED

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NO.       DEFENDANT / SELLER ALIAS                            MARKETPLACE URL
75              BEATTEE                                         https://beattee.com
                                                      https://cowstee.com/bgi0ltv-camp-
76               COWSTEE                 ironmaiden?prop%5Bcolor%5D=white&product=86&side=front
77              DISMISSED
78               Metalnskull             https://metalnskull.com/product/iron-number-of-the-beast-shirt/

79            NEW VERSION                          https://www.nunupoo.com/iroda?checkout=cart

80              DISMISSED
                                          https://www.prints4u.net/product-category/music-posters/iron-
81               PRINTS4U                                       maiden-posters/
82              DISMISSED
83              DISMISSED
84              DISMISSED
85               TEECOOL                                        https://teecooll.com

86                  irm                                 https://www.teefabee.com/stores/irm

87             TEESWORLD                                        https://teesworld.us/

88              DISMISSED
89              DISMISSED
                                        https://www.twievivu.com/minIronMaiden?retailProductCode=06
90              TWIEVIVU                      23D3D3A3A4A2-1B840525ECE2-PS2-TC2000-WHT
91              DISMISSED
92          UNICUS ORIGINAL                      https://unicusoriginal.com/collections/iron-maiden

93              DISMISSED
94             VREX STORE                                 https://www.vrexstore.com/kirmt

95              DISMISSED
96              DISMISSED
97               BAEELLY                              https://www.baeelly.com/products/mt434

98             ELIPTEE.COM                             https://www.eliptee.com/mask-2004-1
                                                 https://moteefe.com/store/iron-maiden-st/34933841-
99               MOTEEFE                           maiden211?color=black&product=men-s-t-shirt
100             DISMISSED




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